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                      Inner City Press
February 17, 2024
By E-mail to Chambers
Hon. Eric R. Komitee United States District Judge
U.S. District Court, Eastern District of New York
225 Cadman Plaza East, Room 1426 S
Brooklyn, New York 11215
Re: Press opposition to redaction of bond suretors in US v. Karony et al, 23-cr-
00433-EK
Dear Judge Komitee:
  I have been covering the above-captioned case for Inner City Press. Docketed
yesterday was Magistrate Judge Merkl's February 9 order granting release on $3
million bond, noting that "Sureties names and addresses should be redacted on the
bond that is available to the public ECF."
  This is a request, the day after docketing, to unredact those names. Note that in
SDNY, the suretors of follow crypto-defendant Sam Bankman-Fried were unsealed
after an Inner City Press request by District Judge Lewis A. Kaplan. See US v.
Bankman-Fried, 22-cr-672 (LAK) (SDNY) Dkt 31 (Inner City Press request to
unseal suretors), and Dkt 57 (Order unsealing) and, e.g., Business Insider, Jan 12,
2023, "Who are the 2 people who helped bail out Sam Bankman-Fried," "the
independent journalist Matthew Russell Lee at Inner City Press previously filed
letters asking Kaplan to unseal the names," https://news.yahoo.com/2-people-
helped-bail-sam-230716452.html
In the Magistrates' Courts, at least here in the Southern District of New York (and,
in my experience there, in EDNY), suretor information is routinely made public,
including their annual incomes, and even addresses. This defendant should not get
special treatment.
  Relatedly, Inner City Press by letters similar to this has twice gotten defendants'
CJA-23 financial affidavits unsealed, for example in the case of Michael Avenatti
in SDNY. The public has a right to know on what basis judges grant such requests,
as they do on the approval of suretors.


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See, e.g., Associated Press v. District Court, 705 F.2d 1143, 1145 (9th Cir. 1983)
(finding that “the public and press have a [F]irst [A]mendment right of access to
pretrial documents in general”).
"Bail, of course, is basic to our system of law." Schilb v. Kuebel, 404 U.S. 357,
484 (1971). See also, Associated Press v. U.S. Dist. Court/or Cent. Dist. of
California, 705 F.2d 1143, 1145 (9th Cir. 1983)
Please docket this challenge to the proposed withholding of suretor information, as
SDNY Judges Hellerstein, Castel, Furman and others have done. See, e.g.,
https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nys
d.516151.85.0.pdf
 "Representatives of the press must be given an opportunity to be heard on the
question of their exclusion from a court proceeding, and we have recognized a
similar right of news media to intervene in this Court to seek unsealing of
documents filed in a court proceeding." Trump v. Deutsche Bank AG, 940 F.2d
146, 150 (2d Cir. 2019) (internal citations, quote marks and alterations omitted).
 "The common law right of public access to judicial documents is firmly rooted in
our nation's history." Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d
Cir. 2006).
  If appropriate, PLEASE TAKE NOTICE that Inner City Press and its undersigned reporter, in
personal capacity, will move this Court before Honorable Eric C. Komitee, U.S. District Judge
for the Eastern District of New York, at a date and time directed by the Court, for entry of an
order granting permission to the heard on sealing or unsealing of the suretors in US v. Karony
et al, 23-cr-00433-EK

  Please act on, and docket, this request, as soon as possible before the sentencing.
Similar Inner City Press requests are routinely docketed in the SDNY, regardless
of not being submitted on ECF. Inner City Press and the undersigned, while
admitted in the SDNY, are not parties to this criminal case, nor filers in the EDNY.
Thank you.
Respectfully submitted,
/s/
Matthew Russell Lee, Inner City Press
cc: John.Enright@usdoj.gov, nds@davidbsmithpllc.com

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